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AO 450 (SCD 04/2010) Judgment in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District of South Carolina


                         MST, LLC,
                            Plaintiff
                       v.                                                   Civil Action No.       2:22-cv-00874-DCN
 North American Land Trust, Georgetwon Memorial
                   Hospital,
                           Defendant
             Georgetown Memorial Hospital
                                                                    )
                Counterclaim-Plaintiff
                                                                    )
                         vs.
                                                                    )
                      MST, LLC
                                                                    )
               Counterclaim-Defendant
                                                                    )
            Georgetown Memorial Hospital,
                 Third-Party Plaintiff
                         vs.
          James Murren and Heather Murren,
               Third-Party Defendants


                                                  JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

 ’ the plaintiff (name)         recover from the defendant (name)           the amount of                           dollars ($ ),
which includes prejudgment interest at the rate of   %, plus postjudgment interest at the rate of                   %, along with
costs.

 ’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
recover costs from the plaintiff (name)                       .

O other: Plaintiff, MST, LLC, shall take nothing of Defendants, as to the complaint filed pursuant to 28 U.S.C. § 1331(a)
and this action is dismissed.



This action was (check one):
’ tried by a jury, the Honorable                            presiding, and the jury has rendered a verdict.

’ tried by the Honorable                          presiding, without a jury and the above decision was reached.

O decided by the Honorable David C. Norton, United States District Judge, presiding.

Date: May 22, 2023                                                         ROBIN L. BLUME, CLERK OF COURT

                                                                                                 s/H.Cornwell
                                                                                        Signature of Clerk or Deputy Clerk
